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4

5    Attorney for Defendant
     STEPHEN J. JOHNSON
6

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8                           IN THE UNITED STATED DISTRICT COURT

9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )   Case No.: 1:08-cr-00224 OWW
                                                      )
12                  Plaintiff,                        )   STIPULATION AND ORDER TO EXTEND
                                                      )   DATES FOR FILING AND HEARING
13          vs.                                       )   POST-TRIAL MOTIONS AND FOR
                                                      )   SENTENCING
14   GARY L. ERMOIAN &                                )
                                                      )
15   STEPHEN J. JOHNSON,                              )
16                  Defendant.

17

18          It is hereby stipulated by and between the parties hereto, through their respective
19   attorneys of record, that the date for filing all post-trial motions, including motions for new trial
20   is hereby extended to January 31, 2011 and the date for response on the part of the government is
21   extended to February 21, 2011. The hearing on said motions, and for defendants’ sentencing, is
22   set for February 28, 2011 at 9:00 am.
23

24   Dated: November 22, 2010
                                                            /s/ Carl M. Faller_____
25
                                                            CARL M. FALLER
26                                                          Attorney for Defendant
                                                            STEPHEN J. JOHNSON
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           Case 1:08-cr-00224-LJO-DLB Document 630 Filed 11/23/10 Page 2 of 2



1                                                                          /s/John Balazs_____
                                                                           JOHN BALAZS
2
                                                                           Attorney for Defendant
3                                                                          GARY L. ERMOIAN

4

5                                                                          BENJAMIN B. WAGNER
                                                                           United States Attorney
6

7
                                                   By                      /s/ Mark E. Cullers_____
8                                                                          MARK E. CULLERS
                                                                           Assistant U.S. Attorney
9
                                                 ORDER:
10

11          Based upon the stipulation of the parties and good cause appearing, it is hereby

12   ORDERED that the defendants’ post- trial motions are to be filed on or before January 31, 2011,

13   with the government’s response to be filed on before February 21, 2011 and that the hearing on
14
     said motions, together with defendants’ sentencing will be held on February 28, 2011 at 9:00 am.
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     IT IS SO ORDERED.
20
        Dated:    November 23, 2010                                            /s/ Oliver W. Wanger
21
                                                              UNITED STATES DISTRICT JUDGE
                                                     DEAC_Signature-END:




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